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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                 Plaintiff/Respondent,


v.                                                           No. CV 15-0298 RB/LAM
                                                                 CR 09-2968 RB


NATHAN ARCHULETA,

                 Defendant/Movant.


SECOND PROPOSED FINDINGS AND RECOMMENDED DISPOSITION1

        THIS MATTER is before the Court on Defendant/Movant’s (hereinafter “Defendant”)

§ 2255 Motion [Doc. 1]2 and Declaration filed in support of the § 2255 Motion [Doc. 2], both of

which were filed on April 13, 2015. On April 6, 2016, the undersigned entered a Proposed

Findings and Recommended Disposition [Doc. 26], recommending that all but one of Defendant’s

claims be dismissed. On August 16, 2016, the presiding judge entered an Order Adopting the

Proposed Findings and Recommended Disposition [Doc. 35] and dismissed all of Defendant’s

claims except his claim that his trial counsel (Mario Carreon) was ineffective because he failed to


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           Within fourteen (14) days after a party is served with a copy of these proposed findings and
recommended disposition, that party may, pursuant to 28 U.S.C. § 636(b)(1), file written objections to such
proposed findings and recommended disposition. A party must file any objections with the clerk of the
United States District Court for the District of New Mexico within the fourteen (14) day period allowed if that
party wants to have appellate review of the proposed findings and recommended disposition. If no objections
are filed, no appellate review will be allowed. Pursuant to Fed. R. Civ. P. 72(b)(2), a party may respond to
another party’s objections within fourteen (14) days after being served with a copy of the objections.
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          Hereinafter, all documents from Case No. CIV-15-0298 cited in this decision will be designated as “Doc.”
followed by their docket number, and all documents from Case No. CR-09-2968 cited in this decision will be
designated as “Cr.Doc.” followed by their docket number.
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properly communicate to the Government Defendant’s acceptance of a fifteen-year plea offer,

resulting in the withdrawal of that offer. On November 16, 2016, the undersigned held an

evidentiary hearing on Defendant’s remaining claim of ineffective assistance of counsel, at which

Defendant, his appointed counsel, and counsel for the Government were present. See [Doc. 59

at 2 and 14]. Having considered the parties’ submissions, the record in both this case and in

Defendant’s underlying criminal case (Case No. CR-09-2968), relevant law, and the testimony

given at the evidentiary hearing, the Court recommends, for the reasons set forth below, that the

remaining ineffective assistance of counsel claim be DENIED and that this case be DISMISSED

with prejudice.

                         Factual and Procedural Background

       On December 3, 2009, a New Mexico grand jury returned a four-count superseding

indictment against Defendant and five other defendants. [Cr.Doc. 99]. On July 22, 2010, the

grand jury returned an eight-count third superseding indictment, which charged Defendant with

six crimes. [Cr.Doc. 233]. All but one of Defendant’s co-defendants pled guilty to the charges

against them, leaving Defendant and Daniel Munoz as the sole remaining defendants. Defendant

did not enter into a plea agreement with the Government and, on August 16, 2010, after a trial, a

federal jury found him guilty on four of the six criminal counts charged against him.

[Cr.Doc. 289]. Those counts were: (Count 1) conspiring to possess with intent to distribute

50 grams and more of methamphetamine on July 2 and 3, 2009; (Count 2) possession with intent to

distribute 50 grams and more of methamphetamine on July 2, 2009; (Count 5) being a felon in

possession of a firearm and ammunition; and (Count 7) possession of methamphetamine. Id.

On January 12, 2012, the Court sentenced Defendant to prison for 360 months on Counts 1 and 2;

120 months on Count 5; and 12 months on Count 7, with all sentences to run concurrently for a



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total of 360 months. [Cr.Doc. 392]. Defendant appealed his convictions to the Tenth Circuit

Court of Appeals, which affirmed (with one judge dissenting) on December 17, 2013. See United

States v. Archuleta, 737 F.3d 1287 (10th Cir. 2013). The United States Supreme Court denied

Defendant’s petition for writ of certiorari on June 23, 2014.                          Archuleta v. United States,

134 S. Ct. 2859 (2014).

         Defendant timely filed his § 2255 motion on April 13, 2015,3 in which he raised several

claims of ineffective assistance of counsel. On April 6, 2016, the Court entered a Proposed

Findings and Recommended Disposition [Doc. 26] (hereinafter, “PF&RD”), recommending that

all of Defendant’s claims in his § 2255 motion [Doc. 1] be dismissed except for his claim that his

trial counsel failed to properly communicate to the Government Defendant’s acceptance of a

15-year plea offer, resulting in the withdrawal of that offer. See [Doc. 26 at 20]. For this

remaining claim, the Court was unable to determine from the then-current record whether

Defendant’s first trial counsel, Mario Carreon, timely communicated Defendant’s acceptance of a

plea offer, and concluded that an evidentiary hearing on that single claim was required. Id. at

7-12.        On July 15, 2016, Defendant filed objections to the PF&RD.                            [Doc. 34].       After

conducting a de novo review of those portions of the PF&RD to which Defendant objected, on

August 16, 2016, the presiding judge in this case entered an order: (1) overruling Defendant’s

objections as untimely and meritless; (2) adopting the PF&RD [Doc. 26]; (3) denying all of

Defendant’s claims except his claim that his trial counsel failed to properly communicate

Defendant’s acceptance of a 15-year plea offer; and (4) ordering the undersigned to appoint



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           A motion under 28 U.S.C. § 2255 is timely if it is filed within one year from the date the conviction
becomes final. See 28 U.S.C. § 2255(f)(1). The Tenth Circuit Court of Appeals has held that “the one-year
limitation period for filing for federal post-conviction relief does not begin to run until after the United States Supreme
Court has denied review.” Rhine v. Boone, 182 F.3d 1153, 1155 (10th Cir. 1999) (citations omitted). Here, the
United States Supreme Court denied Defendant’s petition for writ of certiorari on June 23, 2014. Since Defendant
filed his motion within one year of that denial, on April 13, 2015, his motion is timely.


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counsel for Defendant and conduct an evidentiary hearing and recommend a disposition of this

remaining claim. [Doc. 35].

       Attorney Jared Abrams was appointed to represent Defendant, and, after consultation with

counsel during a telephonic status conference on September 7, 2016, the Court set an evidentiary

hearing for November 16, 2016. [Docs. 40 and 41]. The Court further ordered the parties to file

their witness lists, exhibit lists, and proposed findings of fact and conclusions of law, no later than

November 1, 2016. [Doc. 41]. On November 1, 2016, the Government filed its proposed

findings of fact and conclusions of law [Doc. 44], exhibit list [Doc. 45], and witness list [Doc. 46],

but Defendant failed to file these documents, in violation of the Court’s order setting the

evidentiary hearing. On November 2, 2016, the Court filed an Order to Show Cause (Doc. 47)

regarding Defendant’s failure to file his witness list, exhibit list, and proposed findings of fact and

conclusions of law. Defendant then filed his proposed findings of fact and conclusions of law

(Doc. 48) and witness list (Doc. 49), but did not file an exhibit list.

       On November 16, 2016, the Court held an evidentiary hearing to resolve the factual dispute

regarding Defendant’s remaining claim. Witnesses at the hearing included Defendant, Attorney

Mario Carreon, and Attorney Stephen Wong. See [Doc. 56] (clerk’s minutes from the evidentiary

hearing) and [Doc. 59 at 102] (transcript from evidentiary hearing). The Government offered and

the Court admitted into evidence the transcript from a motion hearing in Defendant’s criminal case

(see Doc. 56-1 and Doc. 59 at 80), and Defendant offered and the Court admitted into evidence an

e-mail from Mr. Wong to Mr. Carreon (see Doc. 56-1 and Doc. 59 at 92-93). At the conclusion of

the hearing, the Court stated that it would take the matter under advisement. [Doc. 59 at 101].

The Court ordered the parties to file supplemental findings of fact and conclusions of law [Doc.




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55], which Defendant filed on December 12, 2016 [Doc. 62], and the Government filed on

December 23, 2016 [Doc. 63].

                                     Evidentiary Hearing

       At the beginning of the hearing, Mr. Abrams argued that the formal plea offer made by the

Government was for a 17-year term and not for the 15-year term that Defendant claimed in his

§ 2255 motion. [Doc. 59 at 9:2-12]. Mr. Abrams stated that Defendant now claims that this

17-year plea offer was not explained to him, and that “[i]f there’s any offer that wasn’t explained to

[Defendant], was explained badly, was explained too late for him to take it, and he would have

taken it, then he’s entitled to have that considered and to be resentenced according to that offer.”

Id. at 10:22-25. The Government opposed Defendant’s request for the Court to consider any

claim not raised in Defendant’s § 2255 motion. Id. at 11:10-25, 12:1-11.

                                      Defendant’s Testimony

       In his direct examination, Defendant was asked about the plea negotiations between his

counsel (Mr. Carreon) and the Government, as follows:

               Q. If the Government had made a part of a plea deal to testify
               against your codefendants, would you have done so? A. No, sir.
               That’s what tied us up, was the fact that [Mr. Carreon] told me that
               that was the only way I could secure a plea bargain, was to testify
               against my codefendants.

Id. at 15:20-24; see also id. at 19:8-10 (“Q. Would you have taken [a 15-year plea bargain] if it

required testifying against your codefendants? A. No.”). Defendant testified that, while he was

not clear on the dates, his counsel told him about a 15-year plea offer, and that, about a month or

two later, Defendant told his counsel he would accept that offer. Id. at 19:13-24. Defendant

testified that the next time he talked with his counsel, Defendant thought that they had come to

Court to sign the 15-year plea bargain, and that “that’s when me and him got into it the last time,



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and that’s when I thought I asked him to excuse himself.” Id. at 20:7-8. Defendant stated that he

was then told about a possible plea offer for 11 to 19 years, and that Defendant told his counsel that

“[he] would take 15 [years].” Id. at 20:17. Defendant further testified that he would have agreed

to either the 11-to-19-year plea bargain, or a 15-year plea bargain, even if it was contingent upon

one of Defendant’s codefendants taking the plea bargain as well. Id. at 23:3-15. Defendant was

then asked if he recalled if his counsel told him that the Government had later made a 17-year plea

offer, and Defendant stated that he did not recall. Id. at 23:19-25, 24:1-3.

       On cross-examination, Defendant admitted that, on December 26, 2009, he wrote in a letter

that he told his counsel that he would go to trial if he did not get an offer of 8 to 13 years. Id.

at 28:9-19. Defendant also admitted that, on January 27, 2010, Defendant told his girlfriend in a

phone call that he would not take a plea bargain for 12 to 15 years. Id. at 33:21-25, 34:1-18.

Defendant testified that, on January 29, 2010, the date that he requested new counsel, he knew that

any plea agreement for 11, 12 or 15 years had been rejected and was gone. Id. at 34:19-23. In

addition, when asked if he stated in a call with his girlfriend on January 29, 2010 that “it didn’t

matter that the United States revoked their plea offer because [Defendant] wasn’t going to plead

guilty to the 15-year deal that day anyway,” Defendant admitted that he said this out of frustration.

Id. at 44:6-13.

                                     Mr. Carreon’s Testimony

       Mr. Carreon testified that he was appointed to represent Defendant on December 14, 2009,

and that, shortly after being appointed, he began plea negotiations with Assistant United States

Attorney Mr. Wong. Id. at 53:19-25, 54:1-8. Mr. Carreon stated that Defendant told him that he

would not enter into any plea agreements that would require him to cooperate with the

Government, and that Mr. Carreon communicated this to Mr. Wong. Id. at 54:18-25, 55:1.




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Mr. Carreon testified that, on January 16, 2010, he discussed with Mr. Wong the possibility of a

15-year plea agreement, which would be subject to approval by Mr. Wong’s supervisor. Id.

at 55:5-9.   Mr. Carreon stated that he met with Defendant on January 20, 2010 at the

Otero County detention facility and that they discussed discovery, trial options, possible testimony

by codefendants, and the possibility of a 15-year plea agreement. Id. at 56:15-25, 57:1-5.

Mr. Carreon testified that Defendant “rejected the 15-year offer and he instructed [Mr. Carreon] to

make a counteroffer for 12 years.” Id. at 57:7-8. Mr. Carreon stated that he called Mr. Wong

and told him that Defendant had rejected the 15-year agreement and countered with a 12-year plea

agreement. Id. at 57:10-14. Mr. Carreon testified that there was never a 15-year plea offer that

had been approved by Mr. Wong’s supervisor. Id. at 57:25, 58:1-6. Mr. Carreon stated that on

January 21, 2010, he received an e-mail from Mr. Wong suggesting a range of 11 to 19 years,

subject to Mr. Wong’s supervisor’s approval.         Id. at 58:12-14.   This agreement would be

contingent on Defendant’s codefendant, Mr. Munoz, also accepting a plea agreement.               Id.

at 59:6-11. Mr. Carreon testified that he then called Mr. Wong and that they discussed a possible

plea agreement of 12 to 15 years. Id. at 59:19-25. Mr. Carreon stated that, on January 23, 2010,

he met with Defendant and that they discussed a 12-to-15-year plea agreement, subject to

Mr. Wong’s supervisor’s approval. Id. at 61:19-20. When asked if he communicated to the

Government Defendant’s agreement to the 12-to-15-year range, Mr. Carreon stated: “There were

several e-mails that were written after that. I am fairly certain -- I can’t be a hundred percent

certain but I’m fairly certain that I communicated Mr. Archuleta’s wishes to Mr. Wong in that

short period of time.” Id. at 63:5-8.

       Mr. Carreon testified that, on January 28, 2010, he received a formal plea offer via e-mail

from Mr. Wong for a 17-year plea agreement.            Id. at 63:9-13; see also id. at 61:21-25.




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Mr. Carreon stated: “That was the only formal Plea Agreement with supervisory approval that the

Government ever made to Mr. Archuleta.” Id. at 62:7-9. Mr. Carreon testified that this plea

offer did not require Defendant to testify against his codefendants, but it was contingent upon Mr.

Munoz, Defendant’s codefendant, also pleading guilty. Id. at 63:14-17. Mr. Carreon stated that

the next morning, on January 29, 2010, prior to a motion hearing to continue Defendant’s trial, he

told Defendant about the 17-year plea offer. Id. at 62:1-7. Mr. Carreon testified that Defendant

was very upset after hearing about this plea offer, and that he then advised Mr. Carreon that he

wanted new counsel. Id. at 64:3-4. Mr. Carreon stated that Defendant “never really told [Mr.

Carreon] whether he wanted to accept the 17-year 11(c)(1)(C) agreement.” Id. at 64:5-6. When

the Court presented Mr. Carreon with the transcript from the January 29, 2010 hearing on

Defendant’s motion to continue before Judge Brack, at which Mr. Carreon told Judge Brack that

Defendant had rejected the offer he had received from Mr. Wong the day before (see id.

at 72:15-25), Mr. Carreon then testified that he recalled that Defendant refused the 17-year plea

agreement on that date (id. at 73:4-9).

                                      Mr. Wong’s Testimony

       Mr. Wong testified that he was the Assistant United States Attorney prosecuting

Defendant’s underlying criminal case, No. CR-09-2698. Id. at 81:4-11. Mr. Wong testified that

he never “extended a formal Plea Agreement to [Defendant] that he could accept,” but that

Mr. Wong “did extend to [Defendant] terms that were solid that he -- that I represented I was

authorized to -- to make to him,” which was “an 11(c)(1)(C) Plea Agreement to a specific sentence

of 17 years contingent on Mr. Munoz also pleading guilty.” Id. at 82:5-12. Mr. Wong testified

that he never offered Defendant a 15-year plea agreement that Defendant could have accepted.




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Id. at 82:16-21; see also id. at 82:25, 83:1-2 (“Mr. Archuleta rejected the 15-year deal before a

formal Plea Agreement was ever drafted and extended to him.”).

       On cross-examination, Mr. Wong was asked if the 17-year plea offer was a formal offer,

and he stated:

                 These were terms that I represented I was empowered to extend to
                 [Defendant]. There was no written Plea Agreement, but those were
                 terms that [Defendant] could have accepted should he have agreed
                 to -- agreed to accept them and we had gone through the process of
                 reducing it to a formal plea offer, and if Mr. Munoz had also agreed
                 to plead guilty at the requisite time.

Id. at 83:14-19. When Mr. Wong was asked by the Court if the 17-year plea offer was a formal

plea offer, Mr. Wong stated that the 17-year plea offer that was conveyed on January 28, 2010

contained some of the terms that would have become part of a formal plea agreement, and that,

“[a]s to the term of incarceration, [Defendant] could have accepted that, and that was -- that was

our offer,” but that “[t]here were many other terms that would be required to -- we would be

required to work out in order for it to be a valid plea.” Id. at 88:21-24. When asked if this plea

offer was accepted by Defendant, Mr. Wong stated that it was not because Defendant told

Judge Brack at the motion hearing that he did not want to accept any plea offer and did not want to

plead guilty. Id. at 88: 25, 89:1-8.

       At the close of the hearing, Mr. Abrams again asked the Court to consider the claim that

“either [Defendant] wasn’t told about [the 17-year plea offer] or [Defendant] wasn’t told about it in

a manner he could understand.” Id. at 97:22-23.

                                             Analysis

                                        Standard of Review

       Pursuant to 28 U.S.C. § 2255, a federal prisoner who “claim[s] the right to be released upon

the ground that the sentence was imposed in violation of the Constitution or laws of the United


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States, or that the court was without jurisdiction to impose such sentence, or that the sentence was

in excess of the maximum authorized by law, or is otherwise subject to collateral attack, may move

the court which imposed the sentence to vacate, set aside or correct the sentence.” 28 U.S.C.

§ 2255(a). Relief is available under § 2255 only if “the claimed error constituted a fundamental

defect which inherently results in a complete miscarriage of justice.” United States v. Addonizio,

442 U.S. 178, 185 (1979) (internal quotation marks and citation omitted). The court must

presume “that the proceedings leading to the conviction were correct;” the burden is on the

petitioner to demonstrate otherwise. Klein v. United States, 880 F.2d 250, 253 (10th Cir. 1989)

(citation omitted).

       In evaluating an ineffective assistance of counsel claim, an attorney’s performance is

measured by a two-prong standard established by the Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984).      To prevail on an ineffective assistance claim under the

Strickland standard, Defendant must show that: (a) his attorney’s performance was deficient

because it fell below an objective standard of reasonableness; and (b) he was prejudiced by the

attorney’s deficient performance. Id. at 687.        Both showings must be made to satisfy the

Strickland standard. Id. To demonstrate unreasonable performance, Defendant must show that

his attorney made errors so serious that his performance could not be considered “reasonable[]

under prevailing professional norms.” Id. at 688. To demonstrate prejudice, Defendant must

show a reasonable probability, sufficient to undermine confidence in the outcome, that the result of

the proceeding would have been different but for his attorney’s alleged unprofessional errors. Id.

at 694. Finally, a court need not address both prongs of the Strickland standard if the movant

makes an insufficient showing on either one of the prongs.              Id. at 697.   In assessing

ineffectiveness claims, “judicial scrutiny of counsel’s performance must be highly deferential.”




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Strickland, 466 U.S. at 689. Judicial review requires “that every effort be made to eliminate the

distorting effects of hindsight, to reconstruct the circumstances of counsel’s challenged conduct,

ands to evaluate the conduct from counsel’s perspective at the time.” Id. Thus, a reviewing

court “must indulge a strong presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.” Id.

                                     The 15-Year Plea Offer

       Defendant’s remaining claim in this case is that Mr. Carreon’s representation was

ineffective because Mr. Carreon delayed in conveying to the Government Defendant’s acceptance

of a 15-year plea offer, which resulted in the withdrawal of the plea offer. See [Doc. 1 at 10-12].

Specifically, Defendant contends:

       1. On December 12, 2009, Attorney Mario Carreon was appointed to represent me
          in my federal case. [S]hortly after that appointment, Carreon advised me
          during a meeting that the government extended a fifteen year plea offer in an
          attempt to timely resolve the court action. At that time, Carreon advised me
          that the government could prove, in his opinion, two of the four counts upon
          which I was charged and those counts were three and four. Carreon allowed
          me some time to think it over at which time, I communicated the offer to my
          family and friends for advice regarding its acceptance o[r] rejection.

       2. After these discussions, I informed Carreon that I wished to accept the fifteen
          year offer. Carreon explained that he would speak with the U.S. Attorney
          when he got a chance. It, however, was several weeks before me [sic] and
          Carreon spoke again regarding the offer. At that time, Carreon apologized and
          stated that the fifteen year offer had come and gone before he could solidify it.
          Carreon[] explained that a different offer had been made which was less
          favorable and called for eighteen years. I was upset with Carreon because
          after speaking with him regarding the fifteen year plea offer I’d set my mind to
          the fifteen year term and at night calculated the amount of time I would serve
          with good behavior and likewise communicated that to my family. [S]o to
          hear that the offer amounted to a hoax, I began to argue with Carreon who
          admitted that he’d neglected to express my intention to accept the offer.
          Carreon added that he was also upset, but upset with the U.S. Attorney for
          allowing plea negotiations to become frustrated.

[Doc. 2 at 1-2].




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       The Supreme Court has explained that a formal plea offer must have a fixed expiration

date, with “terms and [] processing [that] can be documented so that what took place in the

negotiation process becomes more clear if some later inquiry turns on the conduct of earlier

pretrial negotiations.” Missouri v. Frye, 132 S.Ct. 1399, 1408-09 (2012). When there is no

formal plea offer, “mere speculation” regarding a favorable plea that might have been forthcoming

is insufficient to show ineffective assistance of counsel under Strickland. See United States v.

Rendon-Martinez, 497 Fed. App’x 848, 849 (10th Cir. Sept. 27, 2012) (unpublished) (rejecting an

ineffective assistance of counsel claim that the movant’s counsel should have sought out a

favorable plea); see also Greenspan v. Cate, No. 12-cv-2402-AJB (BGS), 2014 WL 197749,

at *36 (S.D. Cal. Jan. 16, 2014) (unpublished) (“In contrast to Frye, . . . [the] prosecutor extended

no formal plea offer, written or even verbal, containing the no sex offender registration term [and]

[a]lthough [the defendant] may well have accepted a plea offer that provided for avoidance of the

sex offender registration consequence, as he now represents, the record reflects his attorney’s

attempt to secure such an offer never came to fruition”).

       The Court first finds that Defendant has failed to establish that a 15-year plea offer was

ever made to him by the Government. At the evidentiary hearing, both Mr. Carreon and

Mr. Wong testified that Mr. Wong never offered Defendant a 15-year plea agreement because

such an agreement had never been approved by Mr. Wong’s supervisor. See Mr. Carreon’s

testimony [Doc. 59 at 55:5-9] (stating that, on January 16, 2010, he discussed with Mr. Wong the

possibility of a 15-year plea agreement, which would be subject to approval by Mr. Wong’s

supervisor) and id. at 57:25, 58:1-6 (stating that there was never a 15-year plea offer that had been

approved by Mr. Wong’s supervisor); see also Mr. Wong’s testimony id. at 82:16-21 (stating that

he never offered Defendant a 15-year plea agreement that Defendant could have accepted) and




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Defendant’s Exhibit 2, attached hereto, (January 28, 2010 e-mail from Mr. Wong to Mr. Carreon

stating that Mr. Wong’s supervisor rejected the proposed 12-to-15-year plea proposal). While

Defendant stated in both his § 2255 motion and at the evidentiary hearing that he was willing to

accept a 15-year plea agreement if it did not require him to testify against his codefendants,

Defendant presents no evidence that any such offer was ever made to Defendant by the

Government. Instead, the evidence before the Court shows only that Mr. Carreon and Mr. Wong

engaged in settlement negotiations in which a 15-year plea was discussed, but was never formally

presented as a plea offer. The Court, therefore, finds no support for Defendant’s claim that

Mr. Carreon was ineffective as to a 15-year plea offer. See, e.g., Greenspan, 2014 WL 197749,

at *36 (explaining that “[the defendant] identifies no controlling United States Supreme Court

authority for the proposition that an inchoate bargain proposed by defense counsel during plea

negotiations, even one a prosecutor may have agreed to propose to his or her supervisor, can

support an [ineffective assistance of counsel] claim [under the holding of Frye] when there was no

resulting offer that defense counsel could have communicated to the defendant”).

       Second, the Court finds that Defendant presented no credible evidence that Mr. Carreon

failed to communicate Defendant’s willingness to accept a 15-year plea offer if one had been

presented. Mr. Carreon testified that he was “fairly certain” that he communicated to Mr. Wong

Defendant’s wish to enter into a 12-to-15-year plea agreement (Doc. 59 at 63:5-8), and this was

confirmed by Mr. Wong’s testimony that he and Mr. Carreon had discussed a 15-year plea

agreement and that Mr. Wong “spent some time drafting up a proposal to 15 years,” and that this

was a “tentative agreement” that was rejected by Defendant before it could have been drafted as a

formal offer (id. at 82:21-25, 83:1-2). While Defendant stated in his declaration filed in support

of his § 2255 motion that Mr. Carreon had told him that he had failed to timely communicate




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Defendant’s acceptance of a 15-year plea offer, which resulted in the withdrawal of that offer (see

Doc. 2 at 1-2), Defendant did not present any evidence at the hearing supporting this statement.

In contrast, both Mr. Carreon and Mr. Wong testified that the 15-year plea was never approved by

Mr. Wong’s supervisor, was never presented as an offer from the Government that Defendant

could have accepted, and, nevertheless, was rejected by Defendant before it could have been

formally offered. See Mr. Carreon’s testimony [Doc. 59 at 57:7-8] (stating that when he met with

Defendant on January 20, 2010 at the Otero County detention facility Defendant “rejected the

15-year offer and he instructed [Mr. Carreon] to make a counteroffer for 12 years”) and id.

at 57:10-15 (stating that Mr. Carreon called Mr. Wong and told him that Defendant had rejected

the 15-year agreement and countered with a 12-year plea agreement); and Mr. Wong’s testimony

id. at 82:25, 83:1-2 (stating that “Mr. Archuleta rejected the 15-year deal before a formal Plea

Agreement was ever drafted and extended to him.”).               This is further corroborated by

Mr. Carreon’s statement at the January 29, 2010 hearing before Judge Brack that a first plea offer

was taken to Defendant and that, on January 20, 2010, Defendant “rejected that plea offer.” See

[Cr.Doc. 154 at 4]. In addition to failing to rebut these statements, additional evidence presented

at the hearing supports a finding that Defendant did not intend to accept a 15-year plea offer, such

as the December 26, 2009 letter from Defendant stating that he told his counsel that he would go to

trial if he did not get an offer of 8 to 13 years (see Doc. 59 at 28:9-19); that on January 27, 2010

Defendant told his girlfriend in a phone call that he would not take a plea bargain for 12 to 15 years

(see id. at 33:21-25, 34:1-18); and that on January 29, 2010 Defendant stated in a call with his

girlfriend that “it didn’t matter that the United States revoked their plea offer because [Defendant]

wasn’t going to plead guilty to the 15-year deal that day anyway” (id. at 44:6-13).




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       For the reasons stated above, the Court finds that Defendant has failed to establish that

Mr. Carreon provided ineffective assistance as to the negotiation of a 15-year plea offer. When

there is conflicting testimony at a § 2255 evidentiary hearing, “it is ultimately the role of the

district court . . . to assess credibility and weigh the evidence before it.” United States v.

Gonzalez, 209 Fed. App’x 842, 846‐47 (10th Cir. Dec. 26, 2006) (unpublished) (citing

United States v. Browning, 252 F.3d 1153, 1157 (10th Cir. 2001)).           Having evaluated the

testimony of Defendant, Mr. Carreon, and Mr. Wong, the Court finds that the accounts by Mr.

Carreon and Mr. Wong regarding the plea negotiations for a 15-year plea agreement are more

credible than Defendant’s account. The Court finds that there is substantial evidence that the

Government never made a 15-year plea offer to Defendant that he could have accepted. The

Court further finds that the record shows that Mr. Carreon appropriately conveyed his client’s

wishes to Mr. Wong and competently engaged in plea negotiations. Therefore, the Court finds

that Mr. Carreon’s performance did not fall below an objective standard of reasonableness as to his

negotiations with Mr. Wong for a 15-year plea, and recommends that this claim be denied.

                                    17-Year Plea Offer Claim

       The Court next considers Defendant’s claim that Mr. Carreon’s performance was

ineffective as to the Government’s 17-year plea offer. While this claim was not raised in

Defendant’s § 2255 motion, this claim was the subject of the majority of the testimony presented at

the November 16, 2016 hearing and both parties addressed this issue in their supplemental

proposed findings of fact and conclusions of law (see Docs. 62 and 63). In addition, it appears

that Defendant discussed this plea offer extensively in both his § 2255 motion and his declaration

filed in support of his § 2255 motion, even though Defendant refers to it in those documents as an

18-year plea offer. See [Doc. 1 at 12] and [Doc. 2 at 2]. The Court, therefore, finds that it would




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be most efficient to consider Mr. Carreon’s performance as to the 17-year plea offer at this time.

See Sipp v. Unumprovident Corp., 107 Fed. App’x 867, 875 (10th Cir. Aug. 20, 2004)

(unpublished) (“The inherent authority of a district court to manage its own docket includes the

discretion to determine which claims to consider.”).

           The evidence before to the Court shows that, on January 28, 2010, the Government

presented a 17-year plea offer to Defendant, and that Defendant could have accepted this offer

with regard to the 17-year term presented in the offer. See Defendant’s Exhibit 2, attached hereto

(e-mail dated January 28, 2010 from Mr. Wong to Mr. Carreon stating that Mr. Wong is authorized

to extend to Defendant a 17-year plea agreement, contingent upon Mr. Munoz also pleading

guilty).     The evidence also shows that Mr. Carreon communicated this 17-year offer to

Defendant. See Mr. Carreon’s testimony, [Doc. 59 at 62:1-7] (stating that he told Defendant

about the 17-year plea offer on January 29, 2010 prior to a hearing in Defendant’s criminal case).

This testimony is corroborated by Mr. Carreon’s statement to Judge Brack at the January 29, 2010

hearing that Mr. Carreon received an e-mail from the Government at 8:00 p.m. the night before,

and that he “reviewed [the Government’s] offer with [his] client today.” [Cr.Doc. 154 at 5].

Finally, the evidence shows that Defendant rejected the 17-year plea offer. See Mr. Carreon’s

testimony [Doc. 59 at 73:4-9] (stating that he recalled that Defendant refused the 17-year plea offer

on January 29, 2010 prior to the hearing before Judge Brack); [Cr.Doc. 154 at 5] (Mr. Carreon’s

statement at the January 29, 2010 hearing that Defendant rejected the offer received at 8:00 p.m.

the night before); and Mr. Wong’s testimony (id. at 88:25, 89:1-8) (stating that Defendant stated at

the January 29, 2010 hearing that he did want to accept any plea offer and did not want to plead

guilty).




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        The Court, therefore, finds that Mr. Carreon presented the 17-year plea offer to Defendant

and that Defendant rejected the offer. The Court further finds that Defendant’s self-serving

assertions that he would have accepted this offer if he had better understood it is belied by

Defendant’s conduct and statements to the Court leading up to his trial. See [Cr.Doc. 154

at 15-17] (transcript of the January 29, 2010 hearing wherein Defendant denies any involvement in

the charged crimes, and states that he does not know the facts of the case and, therefore, he would

“rather spend [his] life in jail than tell a lie that would possibly put a man in jail for ten years, five

years, whatever it may be”). A defendant who rejects all plea offers and steadfastly proclaims his

innocence cannot show ineffective assistance of counsel in plea negotiations by asserting,

post-conviction, that he was willing to accept a plea deal. See United States v. Gonzalez-Rivera,

217 Fed. App’x 166, 170 (3rd Cir. Feb. 15, 2007) (unpublished) (finding that the claim by

defendant, who maintained his innocence and refused to plead guilty during plea negotiations, that

he would have accepted a plea offer is “far too speculative” to establish prejudice). Therefore, the

Court finds that Mr. Carreon’s performance did not fall below an objective standard of

reasonableness as to the 17-year plea offer, and recommends that this claim also be denied.

                                             Conclusion

        IT IS HEREBY RECOMMENDED, for the reasons stated above, that Defendant’s

§ 2255 motion [Doc. 1] be DENIED and that this case be DISMISSED with prejudice.



                                                ______________________________________
                                                LOURDES A. MARTÍNEZ
                                                UNITED STATES MAGISTRATE JUDGE




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